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                                                                                   2020 Aug-28 PM 01:13
                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


                IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ALABAMA
                       NORTHEASTERN DIVISION

SAMANTHA MALONE, HOLLY    )
KIMMONS, MARK BLEDSOE,    )
ANDY FENNELL, and TRAVIS  )
MOSELY,                   )
                          )
     Plaintiffs,          )
                          )
v.                        )                          Civil Action No.:
                          )                          5:16-CV-00483-LCB
CITY OF DECATUR, ALABAMA, )
and PROFESSIONAL          )
PROBATION SERVICES,       )
                          )
     Defendants.          )

   MOTION TO DISMISS CLAIMS AGAINST CITY OF DECATUR, AL

       COME NOW Plaintiffs and, pursuant to Fed. R. Civ. P. 41(a)(2), move the
Court to dismiss all claims against the City of Decatur, Alabama, with prejudice.
Plaintiffs further state that the City of Decatur does not object to this dismissal and
joins in the request that such claims be dismissed with prejudice.

      Plaintiffs do not dismiss, and instead continue to prosecute, their separate
claims against Professional Probation Service.


                                              s/ Lee David Winston
                                              Lee David Winston

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                                          s/ David J. Canupp
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                            CERTIFICATE OF SERVICE

      I certify that I have filed the foregoing with the Clerk of the Court using the
ECF System, which will send notification of such filing to those parties of record
who are registered for electronic filing, and further certify that those parties of record
who are not registered for electronic filing have been served by mail by depositing
a copy of the same in the United States mail, first class postage prepaid and properly
addressed to them as follows:

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     on this the 28th day of August, 2020.
                                             s/ Lee David Winston
                                             Lee David Winston




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